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                             UNITED STATES DISTRICT COURT

                               CENTRAL DISTRICT OF CALIFORNIA


          Orland Sylve,                            Case No.

                  Plaintiff,
                                                Complaint For Damages And
            v.                                     Injunctive Relief For Violations
                                                Of: American’s With Disabilities
          Best Buy Stores, L.P., a Virginia        Act; Unruh Civil Rights Act
       Limited Partnership;
          Minnesota BBC Inc.; and Does 1-
       10,
               Defendants.

           Plaintiff Orland Sylve complains of Best Buy Stores, L.P., a Virginia
   Limited Partnership; Minnesota BBC Inc.; and Does 1-10 (“Defendants”), and
   alleges as follows:
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              PARTIES:
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          1. Plaintiff is a California resident with physical disabilities. He is a
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      quadriplegic who cannot walk and who uses a wheelchair for mobility.
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          2. Defendants Best Buy Stores, L.P. and Minnesota BBC Inc. owned Best
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      Buy located at or about 5101 Clark Avenue, Lakewood, California, in

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    December 2018.
        3. Defendants Best Buy Stores, L.P. and Minnesota BBC Inc. own Best Buy
    located at or about 5101 Clark Avenue, Lakewood, California, currently.
        4. Plaintiff does not know the true names of Defendants, their business
    capacities, their ownership connection to the property and business, or their
    relative responsibilities in causing the access violations herein complained of,
    and alleges a joint venture and common enterprise by all such Defendants.
    Plaintiff is informed and believes that each of the Defendants herein,
    including Does 1 through 10, inclusive, is responsible in some capacity for the
   events herein alleged, or is a necessary party for obtaining appropriate relief.
   Plaintiff will seek leave to amend when the true names, capacities,
   connections, and responsibilities of the Defendants and Does 1 through 10,
   inclusive, are ascertained.

       JURISDICTION & VENUE:
       5. The Court has subject matter jurisdiction over the action pursuant to 28
   U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
   Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
       6. Pursuant to supplemental jurisdiction, an attendant and related cause
   of action, arising from the same nucleus of operative facts and arising out of
   the same transactions, is also brought under California’s Unruh Civil Rights
   Act, which act expressly incorporates the Americans with Disabilities Act.
       7. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is
   founded on the fact that the real property which is the subject of this action is
   located in this district and that Plaintiff's cause of action arose in this district.
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       FACTUAL ALLEGATIONS:
       8. Plaintiff went to Best Buy in December 2018 to shop.


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        9. Best Buy is a facility open to the public, a place of public
    accommodation, and a business establishment.
        10.Point of sale machines at the checkout counters in the mobile phone
    department are one of the facilities, privileges, and advantages offered by
    Defendants to patrons of Best Buy.
        11.Customers without a chip on their credit card or debit card are forced to
    slide their card from the top of the point of sale machine downward. The top of
    the point of sale machine at the mobile counter is about 57 inches in height.
    The center line of the screen, meanwhile, is 55 inches in height. This is not
   accessible to plaintiff.
       12.Because the point-of-sale machines were so high, plaintiff had to hand
   over his card and provide his PIN number to an employee.
       13.Currently, the point of sale machines at the mobile counter are
   inaccessible for plaintiff.
       14.Defendants have failed to maintain in operable working condition those
   features of facilities and equipment that are required to be readily accessible to
   and usable by persons with disabilities at the Subject Property.
       15.Plaintiff personally encountered this barrier.
       16.This inaccessible facility denied the plaintiff full and equal access and
   caused him difficulty, discomfort, and embarrassment.
       17.Plaintiff plans to return and patronize Best Buy but is deterred from
   visiting until the defendants remove the barriers.
       18.The defendants have failed to maintain in working and useable
   conditions those features required to provide ready access to persons with
   disabilities.
       19.The barriers identified above are easily removed without much
   difficulty or expense. They are the types of barriers identified by the
   Department of Justice as presumably readily achievable to remove and, in fact,


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    these barriers are readily achievable to remove. Moreover, there are numerous
    alternative accommodations that could be made to provide a greater level of
    access if complete removal were not achievable.
        20.Plaintiff is deterred from returning and patronizing Best Buy because of
    his knowledge of the barriers that exist. Plaintiff will, nonetheless, return to
    assess ongoing compliance with the ADA and will return to patronize Best Buy
    as a customer once the barriers are removed.
        21.Given the obvious and blatant nature of the barriers and violations
    alleged herein, the plaintiff alleges, on information and belief, that there are
   other violations and barriers on the site that relate to his disability. Plaintiff will
   amend the Complaint to provide proper notice regarding the scope of this
   lawsuit once he conducts a site inspection. However, please be on notice that
   the plaintiff seeks to have all barriers related to his disability remedied. See
   Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
   encounters one barrier at a site, he can sue to have all barriers that relate to his
   disability removed regardless of whether he personally encountered them).

   I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
   WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
   Defendants.) (42U.S.C. section 12101, et seq.)
       22.Plaintiff re-pleads and incorporates by reference, as if fully set forth
   again herein, the allegations contained in all prior paragraphs of this
   complaint.
       23.Under the ADA, it is an act of discrimination to fail to ensure that the
   privileges, advantages, accommodations, facilities, goods and services of any
   place of public accommodation is offered on a full and equal basis by anyone
   who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
   § 12182(a). Discrimination is defined, inter alia, as follows:


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              a. A failure to make reasonable modifications in policies, practices,
                 or procedures, when such modifications are necessary to afford
                 goods,    services,    facilities,   privileges,   advantages,   or
                 accommodations to individuals with disabilities, unless the
                 accommodation would work a fundamental alteration of those
                 services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
              b. A failure to remove architectural barriers where such removal is
                 readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
                 defined by reference to the ADAAG, found at 28 C.F.R., Part 36,
                Appendix “D.”
             c. A failure to make alterations in such a manner that, to the
                maximum extent feasible, the altered portions of the facility are
                readily accessible to and usable by individuals with disabilities,
                including individuals who use wheelchairs or to ensure that, to the
                maximum extent feasible, the path of travel to the altered area and
                the bathrooms, telephones, and drinking fountains serving the
                altered area, are readily accessible to and usable by individuals
                with disabilities. 42 U.S.C. § 12183(a)(2).
       24.Under the ADA, when a place of public accommodation offers a facility,
   privilege, or advantage to its customers, it must offer full and equal enjoyment
   of the same to persons with disabilities. 42 USC 12182(a).
       25.Here, the electronic point of sale machines made available to customers
   in the mobile phone section of Best Buy are a distinct facility, privilege or
   advantage and, therefore, must be accessible to persons with disabilities also.
       26.While there is no explicit access standard for “point of sale machines,”
   the most analogous standard for display screens on such devices is found at
   section 707.7.1 of the 2010 Standards. Under that standard, the display
   screen must be visible from a viewpoint 40 inches above the floor. The


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    California Building Code (CBC) is more explicit, directly addressing point of
    sale machines.
        27.Since the 1995 version of the CBC—and continuing to this date—point
    of sales machines were required to be accessible to persons with disabilities.
    Under the CBC, where point of sale machines are provided at the accessible
    check stands, sales or service counters, the display screen must be visible from
    a viewpoint 40 inches above the floor. If the display screen is mounted
    vertically (or tipped away from the viewer less than 30 degrees) the center line
    of the display screen shall not be more than 52 inches above the floor. 11B-
   707.7.1.1. If the display screen is angled or tipped away from the viewer by
   more than 30 degrees but less than 60 degrees, then the center line of the
   display screen shall not be more than 44 inches above the floor. 11B-
   707.7.1.2. Finally, if the display screen is mounted horizontally (or tipped
   away from the viewer by more 60 degrees) then then the center line of the
   display screen shall not be more than 34 inches above the floor. This has been
   the accessibility standard in all versions of the CBC since 1995.
       28.In the 1995 CBC, that standard as found at section 3105A(g)5. In the
   1998 through 2013 versions of the CBC, that standard was found at section
   1117B.7.5. Currently, that standard is found at section 11B-707.7.1.
       29.Here, the screen is not visible to wheelchair users, would not be
   compliant under any standard, and Best Buy is, therefore, discriminating in the
   full and equal offering of privileges, advantages, and facilities to its customers.
       30.Under the ADA, the highest operable part of controls, dispensers,
   receptacles and other operable equipment must be placed so that it is no higher
   than 48 inches above the ground if only a forward approach is provided or 54
   inches if a parallel approach is possible. 2010 Standards 205; 308, 309.
       31.The failure to ensure that these height/reach requirements are met is a
   violation of the law.


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        32.The Safe Harbor provisions of the 2010 Standards are not applicable
    here because the conditions challenged in this lawsuit do not comply with the
    1991 Standards.
        33.A public accommodation must maintain in operable working condition
    those features of its facilities and equipment that are required to be readily
    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
        34.Here, the failure to ensure that the accessible facilities were available
    and ready to be used by the plaintiff is a violation of the law.
        35.Given its location and options, plaintiff will continue to desire to
   patronize Best Buy but he has been and will continue to be discriminated
   against due to the lack of accessible facilities and, therefore, seeks injunctive
   relief to remove the barriers.
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   II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
   RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
   Code § 51-53.)
       36.Plaintiff repleads and incorporates by reference, as if fully set forth
   again herein, the allegations contained in all prior paragraphs of this
   complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
   that persons with disabilities are entitled to full and equal accommodations,
   advantages, facilities, privileges, or services in all business establishment of
   every kind whatsoever within the jurisdiction of the State of California. Cal.
   Civ. Code §51(b).
       37.The Unruh Act provides that a violation of the ADA is a violation of the
   Unruh Act. Cal. Civ. Code, § 51(f).
       38.Defendants’ acts and omissions, as herein alleged, have violated the
   Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
   rights to full and equal use of the accommodations, advantages, facilities,


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    privileges, or services offered.
        39.Because the violation of the Unruh Civil Rights Act resulted in difficulty,
    discomfort or embarrassment for the plaintiff, the defendants are also each
    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
    (c).)
 
              PRAYER:
              Wherefore, Plaintiff prays that this Court award damages and provide
    relief as follows:
           1.For injunctive relief, compelling Defendants to comply with the
   Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
   plaintiff is not invoking section 55 of the California Civil Code and is not
   seeking injunctive relief under the Disabled Persons Act at all.
           2.Damages under the Unruh Civil Rights Act, which provides for actual
   damages and a statutory minimum of $4,000.
           3.Reasonable attorney fees, litigation expenses and costs of suit, pursuant
   to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
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   Dated: December 19, 2018             CENTER FOR DISABILITY ACCESS
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                                           By:
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                                           _______________________________
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                                                 Chris Carson, Esq.
                                              Attorney for plaintiff
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